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 2
 3
 4                        IN THE UNITED STATES DISTRICT COURT
 5                               FOR THE DISTRICT OF ARIZONA
 6
          Roland G. Harris, et al.,                        No. CV-20-00078-PHX-DLR
 7
 8                  Plaintiffs
                                                           JUDGMENT ON TAXATION OF
     v.                                                    COSTS
 9
10         City of Phoenix, et al.,
11                   Defendants
12
            Final Judgment having been entered, defendant Kristopher Bertz filed a Bill of
13
     Costs, seeking the taxation of $4,799.96. Plaintiffs Roland Harris, Jessica Perez, and
14
     Rodaisa White filed an objection to the Bill of Costs. The matter has been reviewed and
15
     taxable costs have been awarded.
16
17   Fees of the Clerk
18
19   The $400.00 requested is approved.

20
     Fees for Deposition Transcripts
21
22          Pursuant to LRCiv 54.1(e)(3), the reporter's charge for an original and a copy of a
23   stenographic transcript of a deposition is taxable.
24
     Invoice #1666 in the amount of $348.10 is reduced to $306.70. Exhibit copies, Assembly,
25
     and Handling are not taxable.
26
27   Invoice #1833 in the amount of $601.80 is reduced to $508.00. The costs of E-Tran/E-File,
28   and Exhibit copies are not taxable.
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 1   Invoice #2168 in the amount of $272.70 is reduced to $225.70. The costs of E-Tran/E-File,
 2   Exhibit copies, Assembly, and Handling are not taxable.
 3
     Invoice #2405 in the amount of $319.50 is reduced to $274.50. The costs of E-Tran/E-File,
 4
     Exhibit copies, Assembly, and Handling are not taxable.
 5
 6   Invoice #2407 in the amount of $103.70 is approved.
 7
 8   Invoice #2458 in the amount of $581.80 is reduced to $536.80. The costs of E-Tran/E-File,

 9   Assembly, and Handling are not taxable.

10
     Invoice #3238 in the amount of $176.15 is reduced to $131.15. The costs of E-Tran/E-File,
11
     Assembly, and Handling are not taxable.
12
13   Invoice #4220 in the amount of $1,120.00 is reduced to $1,030.20. The costs of E-Tran/E-
14   File, Assembly, and Handling are not taxable.
15
     Invoice #4276 in the amount of $573.95 is reduced to $503.95. The costs of E-Tran/E-File,
16
     Assembly, and Handling are not taxable.
17
18   The reduced amount of $3,620.70 is approved for Fees for Deposition Transcripts.
19
     Fees for exemplification and the costs of making copies of materials necessarily
20
     obtained for use in the case
21
22   The $302.25 requested is approved.
23
24         Costs are hereby taxed for Defendant Kristopher Bertz and against the Plaintiffs in

25   the reduced amount of $4,322.95.
                                               DATED this 19th day of September 2022
26
                                               DEBRA D. LUCAS, CLERK
27
28
                         By:

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